                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:11-00194
                                                )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                          )


                                            ORDER

       Pending before the Court is Defendant Marcus Carey’s Motion To Quash (Docket No.

1279) a subpoena issued by Defendant Sterling Rivers to appear and testify at the hearing set for

May 16, 2013. As the Court held in its Order (Docket No. 1275) issued on May 8, 2013, the

hearing on May 16, 2013 is limited to evidence that Defendant Rivers’ prosecution was

motivated by a desire to protect a Putnam County Commissioner, and not by evidence of the

Defendant’s guilt of the crimes charged.

       On or before May 14, 2013, the parties shall respond to Defendant Carey’s Motion To

Quash (Docket No. 1279). Defendant Rivers should state in his response what evidence

Defendant Carey has to offer on the limited subject of the hearing.

       Counsel for Defendant Carey shall be present at all hearings where Defendant Carey is

expected to be called as a witness.

       It is so ORDERED.



                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00194        Document 1280        Filed 05/10/13     Page 1 of 1 PageID #: 6293
